     Case 2:13-cr-00066-SSV-KWR    Document 360   Filed 02/10/16   Page 1 of 15




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                        CRIMINAL ACTION



VERSUS                                               NO: 13-66



WALTER PORTER                                        SECTION: R



                             ORDER AND REASONS

        Before the Court is defendant's motion in limine1 seeking to exclude

expert testimony on historical cell site analysis under Federal Rules of

Evidence 702 and 403. Defendant also requests an evidentiary hearing on his

motion. For reasons that follow, the motion is denied.



I.      BACKGROUND

        Defendants Walter Porter, Nemessis Bates, and Aaron Smith were

indicted for charges relating to the alleged November 21, 2010 murder-for-hire

of Christopher Smith. Bates was tried by jury before this Court in June 2015.

During trial, the Government introduced expert testimony from Federal

Bureau of Investigations Special Agent W. Charles Williams, who the Court


        1
            R. Doc. 309-1.
  Case 2:13-cr-00066-SSV-KWR       Document 360    Filed 02/10/16   Page 2 of 15




accepted as an expert in the field of historical cell site analysis.2 Special Agent

Williams testified that call detail records for phones allegedly associated with

Bates and Porter reveal, in general terms, the area in which those phones must

have been when making or receiving calls at relevant times.3 The Government

intends to call Special Agent Williams to present the same analysis at Porter's

trial. Transcripts of the Bates trial, which outline Special Agent Williams's

conclusions and methodology in detail, are available to Porter.

      Porter now moves to preclude the Government from offering Special

Agent Williams's expert testimony in his upcoming trial.4 Porter argues that

Special Agent Williams's historical cell site analysis is scientifically unsound

and does not meet the standards for admissibility as expert testimony under

Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993). Porter also contends that Special Agent Williams's

testimony should be excluded under Federal Rule of Evidence 403 because its

probative value is substantially outweighed by the danger of unfair prejudice.

Porter seeks an evidentiary hearing on his motion.



      2
       United States v. Nemessis Bates, 13-cr-66, Trial Transcript at 77-80
("Bates Trial Transcript") at 80.
      3
          Id. at 80-144.
      4
          R. Doc. 309-1.

                                        2
  Case 2:13-cr-00066-SSV-KWR      Document 360     Filed 02/10/16   Page 3 of 15




II.   DISCUSSION

      A.    Rule 702

      Porter argues that Special Agent Williams's expert testimony concerning

cell site analysis is inadmissible because it is based on methods and principles

that are both unreliable and irrelevant to matters at issue in this case. The test

for the admissibility of expert testimony is set forth in Rule 702 of the Federal

Rules of Evidence. See Daubert, 509 U.S. at 587. Rule 702 provides:

      A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an
      opinion or otherwise if: (a) the expert's scientific, technical, or
      other specialized knowledge will help the trier of fact to
      understand the evidence or to determine a fact in issue; (b) the
      testimony is based on sufficient facts or data; (c) the testimony is
      the product of reliable principles and methods; and (d) the expert
      has reliably applied the principles and methods to the facts of the
      case.

Fed. R. Evid. 702.

      In Daubert v. Merrell Dow Pharmaceuticals., Inc., the Supreme Court

held that Rule 702 requires the district court to act as a gatekeeper to ensure

that "any and all scientific testimony or evidence admitted is not only relevant,

but reliable." 509 U.S. at 589; see also Kumho Tire Co., Ltd. v. Carmichael,

526 U.S. 137, 147 (1999) (clarifying that the Daubert gatekeeping function

applies to all forms of expert testimony).



                                        3
  Case 2:13-cr-00066-SSV-KWR       Document 360    Filed 02/10/16   Page 4 of 15




      A district court has considerable discretion to admit expert testimony

under Federal Rule of Evidence 702. See Snap–Drape, Inc. v. Commiss'r of

Internal Revenue, 98 F.3d 194, 197 (5th Cir. 1997), cert. denied, 522 U.S. 821

(1998); United States v. Garcia, 86 F.3d 394, 400 (5th Cir. 1996), cert. denied,

519 U.S. 1083 (1997) (quoting United States v. Townsend, 3 F.3d 262, 270 (5th

Cir. 1994)). This discretion extends not only to the decision whether particular

expert testimony is reliable, but also to how to test an expert's reliability,

including whether to hold evidentiary hearings. See Kumho Tire, 526 U.S. at

152 ("The trial court must have the same kind of latitude in deciding how to

test an expert's reliability . . . as it enjoys when it decides whether or not that

expert's relevant testimony is reliable."); United States v. Wen Chyu Liu, 716

F.3d 159, 168 n.19 (5th Cir. 2013), cert. denied, 134 S. Ct. 1011 (2014) ("[A]

trial court has broad discretion in determining how to perform its gatekeeper

function. . . ."); United States v. Nichols, 169 F.3d 1255, 1262 (10th Cir. 1999)

(finding that Daubert does not mandate an evidentiary hearing); Kirstein v.

Parks Corp., 159 F.3d 1065, 1067 (7th Cir. 1998), cert. denied, 119 S.Ct. 1456

(1999) ("We have not required that the Daubert inquiry take any specific

form."). Regardless of the procedures chosen, the Daubert gatekeeping

function requires this Court to undertake a two-part analysis to determine

whether the proffered testimony is reliable and whether it is relevant.

                                        4
  Case 2:13-cr-00066-SSV-KWR     Document 360    Filed 02/10/16   Page 5 of 15




            1.    Reliability

      The first prong of the Daubert inquiry concerns reliability.               In

determining whether the testimony of a proffered expert is reliable, the Court

must assess whether the reasoning or methodology underlying the testimony

is valid. See Smith v. Borden, Inc., 188 F.R.D. 257, 259 (M.D. La. 1999) (citing

Curtis v. M & S Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999). Daubert

identified a number of factors to analyze the reliability of an expert's

testimony, including whether his theory or technique has been tested, whether

it has been subjected to peer review and publication, the existence of high

known rates of error, and whether the theory or technique used to develop the

theory is generally accepted within the relevant community. 509 U.S. at

592–94. In Kumho Tire, the Supreme Court emphasized that the test of

reliability is "flexible," and that Daubert's list of specific factors does not

necessarily, nor exclusively, apply to all experts in every case. 526 U.S. at

149–50. The Court further stressed that the Daubert factors may be relevant

to the reliability of experience-based testimony, and not just scientifically

based testimony. Id. at 151.

      The Court is familiar with the cell site analysis of the Government's

proffered expert witness, Special Agent Williams. During the trial of Porter's

co-defendant, Bates, the Court heard extensive testimony on Special Agent

                                       5
  Case 2:13-cr-00066-SSV-KWR              Document 360   Filed 02/10/16   Page 6 of 15




Williams's qualifications and methodology. Special Agent Williams testified

that he has worked for the FBI's Cellular Analysis Survey Team ("CAST") since

2006 and that he was formally accepted into the program in 2009.5 He

explained that the CAST unit's function is to assist criminal investigations by

using call detail records to determine the general location of cellular phones

at relevant times.6 In connection with this work, Special Agent Williams has

received over 400 hours of formal training in cellular network theory, radio

frequency theory, and analyzation of historical records.7 He has also received

extensive "on-the-job training" and has analyzed "thousands of pages of

historical call detail records."8 Special Agent Williams testified that he

analyzes telephone records "daily" and that he has performed "hundreds and

hundreds" of historical cell site analyses.9 Based on this experience, Special

Agent Williams has been qualified as an expert in cell site analysis numerous

times, in both federal and state court, including once before in this very case.10

      5
          Bates Trial Transcript at 78.
      6
          Id.
      7
          Id. at 79.
      8
          Id.
      9
          Id. at 80.
      10
        Id. During the trial of Porter' co-defendant, Bates, Special Agent Williams
provided substantially the same testimony that Porter now seeks to exclude--his
conclusions concerning the general location of cellular phones associated with Porter

                                               6
  Case 2:13-cr-00066-SSV-KWR     Document 360   Filed 02/10/16   Page 7 of 15




      During the Bates trial, Special Agent Williams explained that a cellular

network contains numerous cellular towers with overlapping coverage areas.11

Each tower has multiple antennas, and each antenna emits a radio frequency

in a different direction.12 Every time a cell phone makes or receives a phone

call, the phone scans the network and connects to whichever tower provides

the best signal.13 According to Special Agent Williams, the "best signal" will

generally, but not always, come from whichever cell site is closest when the

call occurs.14 Special Agent Williams applied these insights to call detail

records for cell phone numbers allegedly associated with both Porter and

Bates. Call detail records are essentially "enhanced billing records," which

identify the date and time of each call, as well as the cellular tower and

antenna to which the cell phone connected.15 Special Agent Williams testified

that by using such information, he was able to determine the general location

of where each cell phone must have been in order to use a particular tower and



and Bates.
      11
           Id. at 84-86.
      12
           Id. at 84-85.
      13
           Id. at 88.
      14
           Id. at 88, 119-121.
      15
           Id. at 86-87.

                                      7
  Case 2:13-cr-00066-SSV-KWR       Document 360   Filed 02/10/16   Page 8 of 15




antenna during a particular call.16 He cautioned, however, that his method can

only "generally locate" cell phones; it cannot determine precisely where a

caller was located at any particular time.17

      The Fifth Circuit has upheld expert opinion evidence on historical cell

site analysis against a Daubert challenge. See United States v. Schaffer, 439

F. App'x 344, 347 (5th Cir. 2011). In Schaffer, the defendant argued that cell

site analysis testimony is inadmissible because the field lacks any "indicia of

scientific reliability." Id. at 346. Applying Daubert, the court reasoned that

"the field is neither untested nor unestablished," and that numerous federal

courts have accepted cell site analysis as a reliable source of expert testimony.

Id. at 347 (citing United States v. Weathers, 169 F.3d 336, 339 (6th Cir. 1999);

United States v. Sepulveda, 115 F.3d 882, 891 (11th Cir. 1997)). It also noted

that the Government's proffered expert had conducted numerous cell site

analyses and had taught courses on the subject. Id. Thus, the court concluded

that the district court did not abuse its discretion by permitting the expert to

use his specialized knowledge to determine the past locations of defendant's

cell phone based on data in the defendant's phone bill. Id. Numerous other

courts have reached the same result. See e.g., United States v. Jones, 918 F.

      16
           Id. at 78, 82, 88-91.
      17
           Id. at 88-89.

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  Case 2:13-cr-00066-SSV-KWR     Document 360    Filed 02/10/16   Page 9 of 15




Supp. 2d 1, 5 (D.D.C. 2013) (concluding that expert's testimony based on cell

site data was based on a reliable methodology); United States v. Dean, 2012

WL 6568229, at *5 (N.D. Ill. Dec. 14, 2012) (same); United States v. Fama,

No. 12-CR-186 WFK, 2012 WL 6102700, at *3 (E.D.N.Y. Dec. 10, 2012)

(same); United States v. Allums, No. 2:08-CR-30 TS, 2009 WL 806748, at *2

(D. Utah Mar. 24, 2009) (same).

      The reasoning in Schaffer applies here as well. Like the expert in that

case, Special Agent Williams has undergone extensive training in cell site

analysis. As a member of the FBI's CAST unit, he analyzes telephone records

"daily" and has performed "hundreds and hundreds" of historical cell site

analyses. Moreover, Special Agent Williams has thoroughly described the

mechanics of cellular networks and explained how he used principles of

cellular network technology to reach his conclusions in this case. The Court

therefore finds that the historical cell site analysis at issue satisfies the

Daubert reliability test. Furthermore, based on Special Agent Williams's

training, experience, and the nature of his proffered testimony, the Court

concludes that a pretrial evidentiary hearing is not necessary to determine the

reliability of Special Agent Williams's testimony. See United States v. Gatson,

No. 2:13-CR-705 (WJM), 2015 WL 5920931, at *3 (D.N.J. Oct. 9, 2015)

(finding that Daubert hearing was unnecessary when defendant did not

                                      9
 Case 2:13-cr-00066-SSV-KWR             Document 360    Filed 02/10/16   Page 10 of 15




present a novel challenge to cell site analysis); United States v. Freeman, No.

06-20185, 2015 WL 2062754, at *5 (E.D. Mich. May 4, 2015) (declining to

hold Daubert hearing on challenge to cell site analysis testimony).

      Porter argues that Special Agent Williams's proffered testimony relies

on the "demonstrably false" premise that a cell phone always connects to the

cell tower that is closest at the time of the call.18 Porter contends that the

connection process is actually based on many factors that are not part of the

call details records that Special Agent Williams used in his analysis. These

factors include the number of calls being handled by towers in the area, the

"health" of available towers, the line of sight to a particular tower from the

phone, and the amount of interference in the area from weather conditions

and/or other towers at the time the call is made or received.

      Porter misrepresents the nature of Special Agent Williams's analysis.

During the Bates trial, Special Agent Williams testified repeatedly that a cell

phone does not necessarily connect to the closest tower; instead, the phone

uses whichever tower produces the "best" or "strongest" or "clearest" signal at

the time the call is made or received.19               Thus, Special Agent Williams

acknowledges that although calls connect to the closest tower "the vast

      18
           R. Doc. 309-1 at 3.
      19
           Bates Trial Transcript at 88, 119-121.

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  Case 2:13-cr-00066-SSV-KWR     Document 360    Filed 02/10/16   Page 11 of 15




majority of times," other factors are also relevant the selection process.20

Porter neither addresses this testimony nor explains his charge that Special

Agent Williams's analysis nonetheless relies upon a "demonstrably false"

assumption. More importantly, to the extent that the proffered expert

testimony relies on assumptions about the strength of the signal from a

particular tower, Porter's challenges to those assumptions go to the

testimony's weight, not its reliability. See United States v. 14.38 Acres of

Land, More or Less Situated in Leflore Cty., State of Miss., 80 F.3d 1074, 1077

(5th Cir. 1996) ("As a general rule, questions relating to the bases and sources

of an expert's opinion affect the weight to be assigned that opinion rather than

its admissibility. . . ."); United States v. Rosario, No. 09-CR-415-2 VEC, 2014

WL 6076364, at *2 (S.D.N.Y. Nov. 14, 2014) (finding that the "vagaries" of

cellular technology "affect the persuasiveness of the circumstantial evidence,

but they do not render [an expert's] testimony inadmissible"); Jones, 918 F.

Supp. 2d at 5 (concluding that "the mere existence of factors affecting cell

signal strength that the expert may not have taken into account goes to the

weight of the expert's testimony . . . but does not render the fundamental

methodology of cell site analysis unreliable"). Accordingly, the Court finds



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           Id. at 88.

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  Case 2:13-cr-00066-SSV-KWR      Document 360    Filed 02/10/16   Page 12 of 15




that Special Agent Williams's historical cell site analysis is based on a reliable

methodology that has been reliably applied to the facts of this case

            2.      Relevance

      The second prong of the Daubert inquiry requires the Court to

determine whether the expert's reasoning or methodology can be properly

applied to the facts in issue--in other words, whether it is relevant. See

Daubert, 509 U.S. at 591. Porter contends that because Special Agent

Williams's testimony is not based on reliable methods or principles, it cannot

be relied upon to assist the jury to understand the evidence in this case.

Because the Court has concluded that Special Agent Williams's testimony is

reliable, this argument fails. Special Agent Williams's testimony would explain

how cellular networks work and would identify the general locations of cell

phones associated with Porter and Bates in relation to particular towers at

particular times.     This testimony would help the jury understand the

Government's claims about Porter's whereabouts and his movements during

times relevant to this case. See United States v. Evans, 892 F. Supp. 2d 949,

955 (N.D. Ill. 2012) (concluding that "testimony concerning how cellular

networks operate would be helpful because it would allow the jury to narrow

the possible locations of [defendant's] phone during the course of the



                                       12
  Case 2:13-cr-00066-SSV-KWR     Document 360     Filed 02/10/16   Page 13 of 15




conspiracy"). The testimony is therefore relevant and admissible under

Federal Rule of Evidence 702.

      B.    Rule 403

      Porter also argues that Special Agent Williams's testimony should be

excluded under Federal Rule of Evidence 403. Rule 403 permits the Court to

exclude evidence "if its probative value is substantially outweighed by the

danger of unfair prejudice, confusion of the issues, or misleading the jury, or

by considerations of undue delay, waste of time, or needless presentation of

cumulative evidence." Fed. R. Evid. 403. Porter argues that Special Agent

Williams's testimony has little probative value because it is based on the false

assumption that a cell phone always connects to the closest cell site. Porter

also contends that Special Agent Williams's testimony will cause him undue

prejudice because it will lead the jury to draw adverse inferences that are

unsupported by scientific principles.

      These arguments fail for reasons already discussed. Contrary to Porter's

assertion, Special Agent Williams's testimony is based on reliable methods

that have been reliably applied to the facts of this case. Special Agent Williams

and other members of the FBI's CAST unit rely on the same methods in their

daily work of investigating crimes, tracking fugitives, and locating missing



                                        13
  Case 2:13-cr-00066-SSV-KWR               Document 360   Filed 02/10/16   Page 14 of 15




persons.21 The proffered expert testimony is therefore probative of the general

location of cell phones allegedly associated with Porter and Bates at times

relevant to this case. While Porter is, of course, free to introduce evidence or

to cross examine to suggest the limitations of cell site analysis, the Court

cannot conclude that the probative value of Special Agent Williams's testimony

is substantially outweighed by the danger of unfair prejudice.




      21
           Bates Trial Transcript at 78.

                                                14
 Case 2:13-cr-00066-SSV-KWR     Document 360    Filed 02/10/16   Page 15 of 15




III. CONCLUSION

      For the foregoing reasons, the Court DENIES defendant's motion to

exclude the testimony of the Government's historical cell site analysis expert

and to hold a pretrial hearing on the admissibility of the expert's testimony.



      New Orleans, Louisiana, this ___
                                   10th day of February, 2016.



                 _____________________________

                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




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